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7                                 UNITED STATES DISTRICT COURT
8                               CENTRAL DISTRICT OF CALIFORNIA
9

10   ANDREW TRAMPE, individually, and on )          Case No. CV 20-11627 FMO (RAOx)
     behalf of himself and all others similarly )
11   situated,                                  )
                                                )
12                        Plaintiffs,           )   JUDGMENT
                                                )
13                 v.                           )
                                                )
14   CD PROJEKT S.A., et al.,                   )
                                                )
15                        Defendants.           )
                                                )
16

17         Pursuant to the Court’s Order Re: Motion for Final Approval of Class Action Settlement
18   (“Order”), filed contemporaneously with the filing of this Judgment, IT IS ADJUDGED THAT:
19         1. Lead plaintiff James W. Gordley, and plaintiffs Steven Shaginyan and Phillip Trefethen
20   shall each be paid a service payment of $5,000.00 in accordance with the terms of the Settlement
21   Agreement and the Order.
22         2. Class counsel shall be paid $462,500.00 in attorney’s fees, and $26,267.41 in costs in
23   accordance with the terms of the Settlement Agreement and the Order.
24         3. The Claims Administrator, SCS, shall be paid for its fees and expenses in accordance
25   with the terms of the Settlement Agreement and the Order.
26         4. All class members who did not validly and timely request exclusion from the settlement
27   have released their claims, as set forth in the Settlement Agreement, against any of the released
28   parties (as defined in the Settlement Agreement).
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1           5. Except as to any class members who have validly and timely requested exclusion, this

2    action is dismissed with prejudice, with all parties to bear their own fees and costs except as

3    set forth herein and in the prior orders of the court.

4    Dated this 22nd day of November, 2023.

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6                                                                           /s/
                                                                   Fernando M. Olguin
7                                                               United States District Judge
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